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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 RUSSEL A. COX,                                   §
                                                  §
         Plaintiff,                               §
                                                  §
 v.                                               §           Civil Action No. 4:22-cv-310-ALM
                                                  §
 FIRST UNITED BANK & TRUST,                       §
                                                  §
         Defendant.                               §

 UNOPPOSED MOTION TO CONTINUE RULE 16 MANAGEMENT CONFERENCE,
        OR IN ALTERNATIVE, TO ALLOW REMOTE APPEARANCE

        Defendant First United Bank & Trust (“Defendant”) and files this Motion to Continue Rule

16 Management Conference, or in the Alternative to Allow Remote Appearance, and in support

thereof respectfully states the following:

        1.      Plaintiff brought this lawsuit to prevent the foreclosure of the property made subject

of this suit. Defendant removed the lawsuit to this Court on April 14, 2022. [Doc. 1].

        2.      On April 22, 2022, the Court issued its Order Governing Proceedings, setting the

Rule 16 management conference for June 10, 2022 at 3:00 p.m. at the Paul Brown United States

Courthouse, 101 E. Pecan Street, Sherman, Texas 75090. [Doc. 6]. The Parties filed their Joint

26(f) Conference Report pursuant to the Order Governing Proceedings on May 16, 2022. [Doc. 8].

        3.      Counsel for Defendant, Shelley L. Hopkins and Robert D. Forster, II, both have a

direct conflict with the date of the status conference as both counsel for Defendant will be out of

town on June 10, 2022. Counsel Shelley Hopkins is flying on the morning of June 10, 2022 but is

available to appear by remote appearance at the conference.




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        4.      Counsel for Defendant request that this Court reschedule the Rule 16 Management

Conference to another date so that counsel may attend or allow counsel to appear by remote

appearance.

        5.      Counsel for Plaintiff is unopposed to this request to continue the conference.

        6.      This Motion is not sought for delay, but so that counsel can adequately comply with

all scheduling order prerequisites and appear at the scheduling conference.

                                              Respectfully submitted,

                                              By:     /s/ Shelley L. Hopkins
                                                      Shelley L. Hopkins
                                                      State Bar No. 24036497
                                                      HOPKINS LAW, PLLC
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                                                      ATTORNEYS FOR DEFENDANT




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                                CERTIFICATE OF CONFERENCE

        Pursuant to the Local Rules, I hereby certify that on June 1, 2022, Counsel for Plaintiff
indicated by email that he is not opposed to this Motion.

                                                      /s/ Shelley L. Hopkins
                                                      Shelley L. Hopkins



                                       CERTIFICATE OF SERVICE

        I hereby certify that on this 1st day of June 2022, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF filing system, and will send a true and correct copy to
the following:

VIA ECF:
Robert C. Newark, III
A Newark Firm
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Dallas, Texas 75247
office@newarkfirm.com
ATTORNEYS FOR PLAINTIFF

                                                      /s/ Shelley L. Hopkins
                                                      Shelley L. Hopkins




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